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Cc)un.s'e!j?)r Debtr)rs, Ret.rgor-Dyk€s
Mr)tr)ns', LP; Reagor-Dykes Imports, LP,'
Reagw'-D_vkes Anuu'ill(), LP,' Reagor-Dykes
Am() Compuny, LP; Rc'agr)r-Dykes
Plaiuvr'ew, LP; Reugor-Dyke.s' F[r)yrlmlrr, LP

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS
LUBBOCK DIVISION

lN RE:

RF.AGOR_DYKES M()TORS, LP Case NO_ 13_50214_..,]-11

Debtor.

 

lN RE:

REAGOR~DYKES IMPORTS, LP Case No' 18__50215_rlle
(Joint!y Administered Under
Case NO. 18-50214)

I)ebtor.

 

EN RE:

REAGOR-DYKES AMARILLO, LP Case NO_ 18__5{}216_1.1]-11
(Jointly Administered Under
Case No. ]8~50214)

Debtor.

 

IN RE:

REAGOR~DYKES AUT() COMPANY,

Case No. lS-SOZH-r§jll
LP

(Jointly Administered Under

Deth;-_ Case No. 18-50214)

 

iN RE:
REAGOR-DYKES PLAINVIEW, LP Case NO_ ls_§ozls_rjlll

Debtm~ (Jointly Administered Under

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Case No. 18-50214)

 

IN RE:

REAGOR-DYKES FLOYDADA, LP Case NO' 18_50219_1,“11
(Jointly Administered Under
Case No. 18-50214)

W'-`WDMCMCOD

Debtor.

DEBTORS’~IN-POSSESSION EMERGENCY JOINT APPLICA'I`ION
TO EMPLOY CHIEF RESTRUCTUR]NG OFFICER

TO Tl-IE HONORABLE BANKRLJPTCY JUDGE:

Reagor-Dyl<es lvlotors. LP. Reagor-Dyl<es lmports, LP, Reagor~Dyl<es Arnarillo, LP,
Reagor-Dykes Auto Company, LP, Reagor~Dyl<es Plainview, LP, and Reagor-Dyl<es Floydada,
LP (each a “Debtor,” and collectively, the “Debtors”) hereby move the Court for an order
authorizing the Debtors to employ BlackBriar Advisors LLC as Chiet` Restructuring Ofticer ol`
the Dehtors ("Application"’). ln support oi` this Application, the Debtors respectfully state as
t`ollows:

I. JURISDICTION AND VENUE

l. l`liis Court has jurisdiction to consider this Application pursuant to 28 U.S.C.
§§ 157 and 1334. Consideration of this Application is a core proceeding pursuant to 28 U.S.C.
§ 157(b). Venue ol" this proceeding is proper in this district pursuant to 28 U.S.C. §§ l4()8 and
1409.

II. INTRODUCTION

?.. On August l, 2018 (the "'Petition Date”), the Debtors filed voluntary petitions l`or
relie'l` under chapter ll ol`title ll of the United States Code (the "Banl<ruptcy Code"). Pursuant
to §`§` l lO'/`(a) and l 108 ot`the Bankruptcy Code. the Debtors continue to operate their businesses

and manage their properties, aft`airs. and assets as debtors-in-possession.

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III. THE DEBTORS’ BA CKGROUND

3. "l`he Debtors are Texas limited partnerships which own and operate auto
dealerships in and around West' Texas. 'l` he Debtors make up a part oi` what is known as the
Reagor»Dyl<es Auto Group.

4. Reagor-Dyl<es Motors, LP operates two dealerships: Spil<e Dykes Ford Lincoln
in Lamesa, Texas and Reagor-Dykes Auto Mall in Midland, Texas. Spike Dykes Ford Lincoln
sefls both new and used vehicles Reagor-Dyl<es Auto l\/Iall sells used vehicles Each location
also provides maintenance and service on vehicles for its customersl Reagor-Dyl<es Motors, LP
has 80 employees

5. Reagor-Dykes lmports. LP operates two dealerships: Reagor~Dyl<es l\/litsubishi in
Lubbocl<, 'l`exas and Reagor-Dyl<es South in loubbock, Texas. Reagor-Dykes Mitsubishi sells
both new and used vehicles Reagor-Dyl<es South sells used vehicles Reagor-Dykes i\/litsubishi
provides maintenance and service on vehicles for its customers Reagor~Dykes lmports. LP has
69 employees

6. Reagor-Dyl<es Amarillo, LP operates one dealership with two locations in
Arnarilio, Texas. Reagor-Dyl<es Amarillo, LP operates Reagor-Dykes l\/Iitsubishi of Ainarillo. At
the Debtor’$ South location, the Debtor sells both new and used vehicles. At the Debtor’s north
location, the Debtor sells used vehicles Reagor~Dyl<es Arnarillor I_JP provides maintenance and
service on vehicles t`or its customers Reagor-Dykes Ainarillo, I,P has 33 employees

7. Reagor-Dykes Auto Company, LP operates one dealership, Reagor~Dyl<es Ford
Lincoln in Plainview, 'l`exas. Reagor-Dyl<es Ford Lincoln sells both new and used vehicles.
Reagor~Dyl<es Auto Company, LP provides maintenance and service on vehicles for its

customers Reagor~Dyl<es Auto Company, LP has et employees

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8. Reagor-Dykes Plainview, 1413 operates one dealership, Reagor-Dykes Toyota in
Plainview, Texas. Reagor-Dykes 'l`oyota sells both new and used vehicles Reagor-Dykes

Plainview, LP provides maintenance and service on vehicles for its customers Reagor-Dykes

Plainview, LP has 35 employees

9. ReagorFDykes Floydada, bP operates one dealership, Reagor-Dykes Chevrolet in

Floydada, Texas. Reagor-Dykes Chevrolet sells both new and used vehicles Reagor-Dykes

Floydada, LP provides maintenance and service on vehicles for its customers Reagor~Dykes

Floydada, Ll’ has 26 employees

lO.

The ownership/control persons of the Debtors are Rick Dykes and Bart Reagor,

both of whom have been integrally involved in the non-financial (operations, sales, marketing

capital markets relationships) side of the Debtors’ operations (“Ownership“).

IV.

ll.

INDEB TEDNESS OWED TO FORD MOTOR CREDIT COMPANY

"i` he Debtors obtained pre-petition floor financing from Ford l\/lotor Credit

Coinpany ("Ford"). F`oi‘d holds six loans against the Debtors. Each loan provides various line

limits on the new and used vehicles The tables below summarizes the various loans and lines:

 

Reagor-Dykes l\/lotors, LP ~ Loan No. ’*‘*3865

 

 

 

 

 

 

 

 

 

 

 

 

Line Narne Original Line Limit Current Line Limit Outstanding Balance&
New Ford Line 827,000`000.00 815,600,000.00 $l 8,566,042.40
Used l.ine $l 1,000,000.00 811,000,000.00 32,841,869.52
AOP Line 8500,000.00 8500,000.00 3921,904.58
New Lincoln Line 8400,000.00 8400,000.00 3461,303.43
Demo Line $l ,000,000.00 81,000,000.00 $268,825.49
l-"rogram Line $50,000.00 850,000.00 $i 58,734.00
Ford-Lincoln Rent a Car 3200,000.00 8200,000.00 $7l ,120.92
l\/Iulti MFGS Accorn. $l00,000.00 8100,000.00 $0.00

Ford Courtesy Trans 8150,000.00 8150,000.00 8377,069.l 0
Pord FCTP P-Car 8100,000.00 8100.000.00 8489,937.44

 

 

 

 

 

 

1 Outstanding balance as of August 2, 2018.
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Reagor-Dykes lmpoi'ts, LP - Loan No. "‘* l 560

 

Line Name

Original Line Limit

Current Line Lirnit

Outstanding Balance

 

Mitsubishi New

$6,500,000.00

81,600,000.00

332,599,985.66

 

 

 

 

 

 

Multi MFGS Used $10,600,000.00 810,600,000.00 83,399,728.50
Multi l\/IFGS Accom. 8400.000.00 8400.000.00 3177,951.25
l\/iulti MFGS Demo 3100,000.00 $100,000.00 874,041.25
1\/lulti MFGS Service 8250,000.00 8250,000.00 827,450.00
Reagor-Dykes Amari!lo, LP ~ Loan No. *"‘1558

 

Line l\lame

Original Line Limit

Current Line limit

Outstanding Balance

 

 

 

 

 

 

 

l\/[itsubishi l\lew $4,000,000.00 $l,300,000.00 $3,354,420,56
Mtilti l\/IFGS Used $5,800,000.00 $5,8{)0,00().0() $2,581,743.81
Multi l\/IFGS Accom. $300,000.00 $300,000.00 854,315.00
i\/[ulti l\/IFGS Demo $E00,000.00 8100,000.00 $0.00

l\/lulti l\/IFGS Service $lU0,000.00 $lOU,OO0.00 $0.00

 

 

 

Reagor-Dykes Auto Company, LP - Loan No. **4603

 

 

 

 

 

 

 

 

 

 

 

L.ine Name Original Line Limit Current Line Limit Outstanding Balance
Ford i\lew $8,700,000.00 86,100,000.00 $6,876,536.85
Lincoln New 8950,000.00 3550,000.00 $308,237.30
l\/lulti MFGS Used $7,000,000.00 87,000,000.00 $1,873,577.50
l\/Iulti MFGS Prog. 850,000.00 850,000.00 $92,525.00
l\/luiti MFGS Accom. 8400,000.00 $400,000.00 81 12,800.00
_§_oi;c_l Rent a Car 8200.000.00 $200,000.00 $0.00
mlm\W/Iulti MFGS Demo 8600,000.00 8600,000.00 8370,193.61
l\/Iuiti MFGS AOP 8300,000.00 8300,000.00 $0.00
1"`ord Courtesy 1`rans 8550,000.00 8550,000.00 8469,330.03
Ford FCTP P-Car 8450,000.00 8450`000.00 $946,649.04

 

 

Reagor-Dykes Plainview, LP - Loan No. **2377

 

 

 

 

 

 

 

 

Line Name Original Line Limit Current Line Limit Outstanding Balance

Toyota New 810,000,000.00 336,100,000.00 $8,620,070.46

l\/Iulti M`FGS Used $4,700,000.00 $4,700,000.00 $2,145,682.50

l\/Iulti MFGS Demo 8500,000.00 8500,000.00 8127,485.73

Multi MFGS Accorn 8250,000.00 8250,000.00 $78,100.00

1\/Iulti MFGS Service 8200,000.00 8200,000.00 $0.00
Reagor-Dykes Floydada, l,P - Loan l\lo. *’*‘2739

 

Line Narne

Original Line Lirnit

Current Line Limit

Outstanding Balance

 

 

 

 

 

 

 

 

 

 

Chevrolet l\lew $12.000,000.00 $7,050,000.00 86,912,431.67
Multi l\/IFGS Used $2,000,000.00 $2,000,000.00 8587,i27.50
Multi l\/IFGS Accorn $50,000.00 850,000.00 80.00

l\/lulti MFGS Demo $300,000.00 $300,000.00 $i33,498.9l
l\/lulti MFGS AOP SZOU,OOU.OU $20(),000.00 $0.0U

Multi MFGS Service 8150,000.00 $150`000.00 $0.00

 

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12. Ford asserts its debt with the Debtors is secured by the Debtors’ vehicle
inventory, titles, parts, equipment, furniture, i'ixtures, and general intangibles, and income
generated from the sale of those assets

13. Ford asserts that the Debtors have defaulted under the loans on account of being
out oftrust by 841 million. '1`he Debtors dispute this number. Based on the alleged default, Ford
has stopped alt funding on the loans

V. EVENTS LEADING TO CHAPTER 11 FILINGS

14. To monitor the Debtors’ operations and Ford`s loans and exposure. Ford
periodically conducts audits of the Debtors1 dealerships Ford"s last audit of the Debtors was
done in June of 2018. According to Ford’s audit, the Debtors received not only a clean bill of
health, but were commended on the performance the Debtors were experiencing at the
dealerships

15. Despite the praise received by Ford in just the past couple months Ford
conducted another audit in .iuly, despite having done one in just last month. Based on this audit,
Ford asserts that the Debtors have been failing to meet certain standards under their floor
financing requirements On .luiy 26, 2018, Ford came in, conducted an audit and then on .luly 30,
2018, stopped funding the Debtors under their tines of credit which fund their floor plans

16. Additionaliy, Ford provides financing to the Debtors’ customers when a customer
purchases a vehicle from the Debtors Ford ceased providing indirect lending to the Debtors and
their customers Needless to say, this froze the Debtors operations dried up their cash, and
forced them to seek protection of this Court to keep the doors open and operating

17. Having been taken completely by surprise by the alleged findings of Ford in its

last audit, the sweeping of all the Debtors` cash that Ford could sweep and control, the findings

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to date as to the concerning activities of the former CFO and perhaps others working in concert
within the Debtors’ operations the Debtors and Ownership have been working non-stop to
determine (this is a non-exclusive list): (i) the size of the cash hole created by the Ford
sweeping of Debtors` cash1 (ii) the true-up as best possible of what Ford has done with the funds
swept; (iii) the nature of the actions and conduct of the former CFO and perhaps others working
in concert that have caused losses to the Debtors (just what did they do?); (iv) how best to
reverse the financial improprieties once determined (both to avoid any further losses and so that
the Debtors` can produce viable and trustworthy financial data); (v) the size of the loss created
by actions of the former CFO and perhaps others working in concert, (vi) the losses if any to
other tenders created by the same conduct, (vii) the use by Ford of the cash swept (viii) the
amount of cash needed immediately to right operations (e.g., to effectuate trade-in payoffs, clear
up outstanding balances at lending institutions and the Debtors` banks), (ix) capital needs to
move forward and to create the best chance for consensual use of cash collateral, (x) the possible
sources of post-petition financing from third party sources and (importantly) (xi) the extent to
which the individual assets of Ownership can be best deployed to assist the Debtors on an
emergency/immediate basis

18. Because of the departure of the former CFO and the current state of flux in which
the Debtors are trying to make certain their financial data can be reliable and relied upon._ the
Debtors and Ownership have determined it necessary to bring on through C ourt approval a Chief
Restructuring Officer firm ("CRO”) and a person within the CRO, to provide the Debtors with (i)
a person, Bob Schleizer who is a Certified Turnaround Professional ("CTP”) and Certified
lnsoivency Restructuring A.dvisor ("CIRA”), through whom the CRO will act as CRO, a person

with extensive crisis management experience who can provide an independent presence through

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whom the Debtors can communicate and operate while in chapter ll, and (ii) the CRO firm -
BlackBriar Advisors l.LC (“BlackBriar"), which has extensive financial and accounting
experience within turn around and emergency financial conditions to provide both investigative
and ongoing accounting and CFO services to the Debtors.

I9. The Debtors and Ownership understand that it is necessary for the interests of the
Debtors’ customers creditors the Debtors’ communities and public at larger and importantly, the
sanctity of the chapter l 1 reorganization process that an independent, Court approved presence
be brought in by the Debtors and Ownership to perform the services mentioned herein.

20. Specifically, Ownership understands and embraces the prospect of BlackBriar
conducting as part of its duties the inquiry into the extent to which there has been financial
wrongdoing on the part of the former CFO and any other persons within the Debtors’
organization, INCLUDING Wl"l`l“lOU'l` lr.llvll'l`A'l`ION OWNERSHIP AND PERSONS
RI:BI,ATED i`O OWNERSHIP. IN EFFECT, OWNERSI-IIP HAS DETERMINED 1'1`
NECESSARY THAT BLACKBRIAR iNVESTlGA'l`E OWNERSHIP, in the name of
transparency and as necessary to make certain the Debtors’ fulfill their obligations within the
chapter 1 1 process

21. Additionallyr and just as importantly, the duties must include providing CFO
services given the departure of the former CFO. One of the reasons the debtors and Ownership
chose BlackBriar is its abilities to provide such services (the founders previously were partners
with Tatum CFO Partners, a nationally recognized firm that provides independent CFO services
to businesses worldwide). lt is of utmost importance that the Debtors` ongoing financial data be
reliable, and that this reliability is effectuated in the most efficient means possible BlackBriar is

most capable to be able to accomplish this task efficiently

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22. The need for retention of BlackBriar is evident, and both the Debtors and
Ownership seek emergency approval of the CRO and BlackBriar, so that the necessary work can
begin

VI. CHIEF RESTRUCTURING OFFICER

23. The Debtors file this Application to hire BlackBriar as CRO, and Robert (Bob)
Schleizer to be the Partner in Charge for the engagement, and to act for BlackBriar as the CRO
person. As well, the Debtors seek to have the duties of BlackBriar include the providing of third
party accounting/CFO services as described above.

24. '1`he experience and qualifications of BlackBriar are outlined in the attached
Exhibit ","A which also inciudes their rates for services and terms of engagement

VII. RELIEF REOUESTED

25. By this Application, Debtors seek to retain and employ BlackBriar Advisors LLC
as Chief Restructuring Ofl'icer for Debtors with the responsibilities and authority described
herein_ and to oversee and work with Ownership on the Debtors` operations and/or to oversee
the Debtor`s reorganization efforts il` any. ln support of this Application, Debtors submit the
Declaration of Robert (Bob) Schleizer, who will be the Partner in Charge on this engagement
with the Debtors (the "Declaration"), attached hereto as Exhibit “B”.

VIII. BASIS FOR RELIEF

26, Section 327(a) of the Bankruptcy Code provides that the Debtors are permitted to
employ professional persons "that do not hold or represent an interest adverse to the estate, and
that are disinterested persons” 11 U`S.C. § 327(a).

27. Bankruptcy Rules 2014 provides that an application for retention of a professional

person include:

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[S]pecific facts showing the necessity for the employment, the names of the
person to be employed, the reasons for the selection, the professional services to
be rendered, any proposed arrangement for compensation, and to the best of the
applicant’s knowledge, all of the person’s connections with the debtor, creditors
and any other party in interest, their respective attorneys and accountants the
United States Trustee. or any person employed in the office of the United States
Trustee.

FED. R. BANKR. P. 2014.

28. Further, this Court may approve retention and payment of a chief restructuring
officer under § 363, See, e.g., fn re Colcrd Group. 1nc., 324 B.R. 208, 215 (Bankr. W.D.N.Y.
2005); 1a re 1031 Tcix Group. LLC. 2007 WL 2085384, at *5 (Bankr. S.D.N.Y 2007). '1`he
retention of interim corporate officers such as a CRO and other temporary employees is proper
under section 363 of the Bankruptcy Code. Section 363(b)(1) of the Bankruptcy Code provides
in relevant part that "'|'t]he trustee, after notice and a hearing, may use, sellr or lease, other than in
the ordinary course of business property of the estate." 11 U.S.C. §363(b)(l). ln approving
retention under §` 363, courts look to whether the debtor has "a good business reason" in seeking
approval of the application Commi'llee 0qutu Sectrri!y Holders v. Lionel Corp. (In re Lioriel
Corp.), 722 F.2d 1063, 1071 (2d Cir. 1983); 1a re 1031 Tax Group, LLC, 2007 WL 20853,84, at
*5.

29. 'l`he debtor’s business judgment is given significant weight See. e.g., Meyer.s' v.
Murfin (ln re Mm‘lin), 91 F.3d 389, 395 (3d Cir. 1996) (citing Fz/llon Smle Bcrnk v. Schipper (ln
re Schipper), 933 F.2d 513, 515 (7th Cir. 1991)); Comm of`Equr'fy Sec Ho!ders v. Lionel Corp.
(In re Lr.'onel C.`orp.) 722 F.2d 1063, 1070 (2d Cir. 1983); fn re Delcrware &Ht¢a’Son Ry. C`r)., l24
B.R. 169 (D. Del. 1991) (courts have applied a “sound business purpose” test to evaluate
motions brought pursuant to section 363(b))', Comm. of Asbestr).s'~}ielmed Lfli`ganls v, Johns-
Mam-v'lle Corp. (ln re .fr)hnrs'-Mcmr-’i'lie Corp), 60 B.R. 6l2 (Bankr. S.D.N.Y. 1986) ("Where the

debtor articulates a reasonable basis for its business decisions (as distinct from decision made

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arbitrarily or capriciously), courts will generally not entertain objections to the debtor”s
conduct”). The business judgment rule is respected within the context of a chapter ll case and
shields a debtor’s management from judicial second-guessing

30. Bankruptcy courts have considered the propriety of a debtor in possession’s
employment of a corporate officer under Bankruptcy Code Section 363 on numerous occasions
and regularly concluded that it is an appropriate exercise of the debtor`s business judgment to
employ a corporate officer in such manner. See. e.g. fn re Secihawk Drilli'ng, lnc., Case i\lo. 1 1-
20089 (Bankr. S.D. 'l`ex. Feb. 14, 2011); 117 re Gzn_lfCoasf ()1`1 Cc)rp., Case l\lo. 08-50213 (Bankr.
S.D. '1`ex. Sept. 29, 2008).

31. While Debtors believe themselves fully capable of fulfilling their roles as debtors-
in-possession consistent with their obligations under the Bankruptcy Code, Debtors have
determined in their business judgment that the retention of a Chief Restructuring Officer
("CRO") will provide the Debtors with stability, oversight, and operational assistance to
determine and resolve the disputes between Ford and the Debtors as well as give Ford` the
Debtors other creditors and parties in interest greater confidence in the Debtors operations Such
retention will significantly reduce the adversarial nature of this case and will permit Debtors a
reasonable period to explore their options regarding a possible sale of assets or other form of
asset disposition or reorganization, overseen by an independent person, as the CRO determines is
the best direction for these Debtors ln addition to assisting with the working relationship with
Ford, Debtors believe that the employment of BlackBriar will enhance their ability to analyze
from an independent perspective potential purchasers the possibility of a viable plan of
reorganization. to explore whether there are possible exit financing options and, with the

expertise of BlackBriar, potentially to improve operations controls and capital. Debtors have

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thus determined in their business judgment that retaining BlackBriar will benefit Debtors and

their estate while at the same time fulfilling the policy of chapter l 1 of the Bankruptcy Code to

allow Debtors the chance, as debtors-in-possession, to control their own reorganization process

See fn re Bfue Stone Real Eslare, Co)rsfrncrion & Dev. Corp., 392 B.R. 897, 905 (Bankr. l\/l.D.

13 la. 2008).

IX. SER VICES TO BE PRO VIDED

 

As Chief Restructuring Oflicer, BlackBriar will provide the following services

review all aspects of operations accounting, and the business activities of the
Debtors and because of the affiliation of certain non-debtors the accounting
services for certain non-Debtor operating entities the work for which will be
necessary to provide full accounting pictures of the Debtors;

evaluate the Debtors inventory and other assets;

evaluate the Debtors capital needs',

set or adjust compensation for other employees of Debtors if necessary;
review Debtors’ books and records

conduct such investigation as it deems necessary to fulfill the required
components of its engagement as described above;

direct the preparation of budget projections cash disbursements and receipts and
results ofoperations to determine long and short-term needs;

to provide CFO and outside accounting services that will include preparation of
the Debtors’ l\/Ionthly Operating Reports;

oversee the analysis and investigation of possible recapitalization or merger
options and the determination of whether any such possibilities could reach
fruition;

pursue and oversee a sale process for Debtors1 assets if BlackBriar in consultation
with Ownership determines it is in the best interests of the estates;

oversee the process for determining whether formulation and filing of a joint
chapter 1 1 plan and disclosure statement is a viable possibility; and

perform other services as directed by the Bankruptcy Court and mutually agreed
by BlackBriar.

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33. Robert (Bob) Schleizer, the Partner in Charge on this engagement with
BlackBriar, will be employed as a corporate officer of the Debtors and, as suchr will consult with
Debtors’ Ownership in connection with his duties

X. DISINTERESTEDNESS OF BLA CKBRMR AD VISORS LLC

34. To the best of Debtors’ knowledge and based upon the Declaration, BlackBriar is
a "disinterested person” as that term is defined in § 101(14), as modified by § 1107(b) of the
Bankruptcy Code.

35. 'l`o the best of Debtors’ knowledge and based upon the Declaration, BlackBriar
does not hold or represent an interest adverse to Debtors or their estates in accordance with §
327 of the Bankruptcy Code.

36. To the best of Debtors’ and Blacl<Briar’s knowledge, information, and belief. and
based upon the Declaration, (a) BlackBriar does not have any connection with Debtors creditors
ot`the Debtors the United States Trustee’s office, any person employed in the office ofthe United
States rl`rustee`s office, or any other party with an actual or potential interest in these chapter l 1
cases or their respective attorneys or accountants except as disclosed in the Declaration; (b)
BlackBriar is not a creditor, equity security holder, or insider of Debtors (c) none of BlackBriar’s
partners or associates are, or were, within two years of the Petition Date, a director, officer, or
employee of Debtors: and (d) BlackBriar (or any of its partners or associates) neither holds nor
represents an interest adverse to Debtors their estates or any class of creditors or equity security
holders by reason of any direct or indirect relationship to, connection with, or interest inq the
Debtors or for any other reason.

3’/'. ln addition, BlackBriar represents that it is not a potential direct or indirect

purchaser of Debtors’ assets Further, it agrees that in the event potential purchasers or investors

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become known to it, it will immediately disclose any connections with such potential purchasers
or investors

38. Debtor submits that retention of BlackBriar is in the best interest of Debtors, their
estates, and the creditors

XI. TERMS OF RETENTION

39. As more fully set forth in the Engagement Letter attached to this Application,
BlackBriar will be engaged to perform the duties described above and be paid on an hourly basis
at the rates described in the Engagernent Letter. As a professional of the Debtors` bankruptcy
estates, BlackBriar will be paid in accordance with the Bankruptcy Code, the Bankruptcy Rules,
and any order of this Court dealing with Interim Compensation Procedures.

X]I. SHORTENED NOTICEAND NEED FOR EMERGENCY CONSIDERA TION

40. 'l"he Debtors` believe that the need for a CRO in these cases is crucial to the
survival of the Debtors businesses the estates1 and in the best interests of the creditors The
Debtors need the ability to bring in a CRO immediately to be able to investigate the financial
transactions that led to the Debtors’ need to file bankruptcy_ to investigate the
allegations/accusations of F`ord. to investigate the potential for any wrongdoing by the Debtors`
former CFO and Ownership, to stabilize the Debtors accounting l"unctions, to immediately put
into place strong accounting controls, and to provide CFO support upon the departure of the
Debtors’ former CFO. On account of these crucial needs, the Debtors seek to have this
Application heard on an emergency basis in conjunction with the continued hearing on use of
cash collateral on August 16, 2018 at lO:O() a.rn. Debtors likewise seek to have notice shortened
on this Appiication to no more than seven (7) days The Debtors assert that shortened notice and

emergency consideration are appropriate and proper in this situation

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WHEREFORE, the Debtors respectfully request that the Court set an emergency hearing
on seven {7') days’ notice, determine that such notice and opportunity for a hearing is reasonable
under the circumstances and upon hearing of the Application enter an order authorizing the
Debtors to employ BlackBriar Advisors LLC as the Chief Restructuring Ofiicer of the Debtors
Further, the Debtors pray f`or such other and further relief, at law or in equity, to which the
Debtors may show themselves justly entitied.

Respectfully Submitted,

MULLIN liOARD & BROWN, l,..L.P.
P.O. Box 2585

lsubbock, 'l`exas 79408-2585
Telephone: (8()6) '!'65~749l

l`*`acsiniile; (806) 765-0553

/s/ David R. Langston

David R. Langston, SBN: 1192380()

Brad W. Odell, SBN: 24065839

Cocmsel for Debtors, Reagor-Dykes

Motors, LP; Reagor~Dykes Imports, LP,'
Reagor-Dykes Amarillo, LP; Reagor-Dykes
Auto Company, LP; Reagor-Dykes
Plainview, LP,' Reagor-Dykes F!oydada, LP

 

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CERTIFICATE OF SERVICE

 

l certify that a true and correct copy of the foregoing l\/lotion was served on the following parties
in interest via ECF on this 8th day ofAugust 2018:

l .

l\.)

L»J

5.

Reagor Dyl<es Auto Group
1215 Ave. J
Lubbocl<, 'l`exas 79401

l<leith Langley and Brandon K. Bains
Langley LLP

l30l Solana Blvd.

Bldg. l, Suite 1545

Westlake, Tx. 76262

limail: klanglevf'rDl-ilp.com and bbains@l-lip.com
Attr)rneysfr)r Fr)rd Momr Cren'ir

Donald Cram and Duane lVl. Geci<

Severson & Werson

One Embarcadero Center, Suite 2600

San Francisco, CA 94¥ 1 1

Einail: dmg(?l)severson`com and ditc@severson.co:n
Atiomeysfor Fr)rd Mol‘or Credir

 

U.S. Trustee’s Oftice
1 i00 Commerce St., Room 9C60

Dal las 'l`exas 75242

All parties receiving notice via l;`CF in this case.

l further certify that a true and correct copy of the foregoing l\/lotion will be Served on the
following parties in interest via regular U.S. l\/iail on this 9“` day of August2018:

1.

Ail parties listed on the attached mailing list being the 20 Isargest Unsecured Creditors.

/s/ David R. Laitgston
David R. Langston

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Reagor D\/l<es Auto Group
1215 Ave.J
Lubbock, Texas 79401

Dona|d Crarn and

Duane l\/I. Geck

Severson & Werson

One Embarcadero Center,
Suite 2600

San Fra ncisco, CA 94111
Laura Monroe

Perdue Brandon l-`ie|der et al
P.O. Bo)< 817

tubbock, Tx. 79408

Roger Ke\/

Key Terrel| & Seger LLP
P.O. Bo>< 64968
Lubbock, Tx. 79464

American Tire Dlstrlloutors
Payrnent Processing Center
P.O. Bo)< 889

Huntersviile, NC 28070»0889

Concho Supp|y lnc.
P.O. Box 3487
San Angelo, TX 76902

Fender Truck Accessories
P.O. Bo)< 2576
l\/lidland, TX 79702

l\/leyer Distributlng
560 East 25th St.
iasper, IN 47546

Un`lted States Trustee

Attn: Erin Schmldt/Stephen l\/Ic!<itt
1100 Commerce Street, Room 976
Da||as, TX 75242

jim Parrish

Ba |<er Hostetier

200 South Orange Ave., Suite 2300
Or|ando, F|. 32801-3432

Reuben Hancock

Reuben L. Hancoc|< PC

7480 Golden Pond Place, Ste 200
Amaril|o, TX 79121

Roger Cox

Underwood

P.O. BOX 9158

Arnarillo, Tx. 79105»9158

Bristo Battery
124 E. Slaton Rd.
Lubbocl<, TX 79452

Descriptive Auto Design, LLP
P.O. Bo>< 64366
tubbock, TX 79464

Keystone Automotive Operations
P.O. Bo)< 417450
Boston, IV|A 02241-7450

Napa Auto Parts
310 N 4th
Lamesa, TX 79331

Application to Emplov Chief Restructurina Officer

Page17 0f2l

Keith Lang|ey and
Brandon Bains
tang|ey LLP

1301 So|ana Blvd.
B|dg. 1, Suite 1545
West|a|<e, T)<. 76252

John l\/lassouh

Sprouse Shrader Smlth,
PLLC

701 S. '|'ay|or, Suite 500
Amari|lo, `t')<. 79101

Thomas A. Connop
Locl<e Lord LLP

2200 Ross Ave., Suite
2800

Dallas, T)< 75201

AER Manufacturlng
P.O. BOX 974180
Da||as, TX 75397-4180

Bumper Manufacturing
2500 l\/Iinis Drive
Ha|torn City, TX 76117

Earl Owens Company,
LLC

P.O. Box 111787
Carro||ton, TX 75011

tubboc|< Auto Spa
Attn: jeff Barthaiomen
3305 8lst St.

Lubbocl<, TX 79423

O'Rei|iev Auto Parts
P.O. Bo)< 9464
Springfield, t\/lO 55801-
9464

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Reid Bethel Tire Co.
P.O. Box 29
Lamesa, TX 79331

Sewe|| Ford |nc
P.O. Box 3432
Odessa, TX 79760

1~300 Radiator
P.O. Box 2786
Amarl|io, TX 79105

/-\merlcan Tire Dlstribution
8814 Senator Clrcie
Woifforth, TX 79382

Auto Zone Stores, lnc.
P.O. Box 116067
Atlanta, GA 30368-6067

Dls<:ount Tire Compan\/
P.O. Bo>< 29851
Phoeni)<, AZ 85038-9851

Quantum|inq Computing
P.O. Bo)< 6682
Lubboc!<, TX 79493

South Pialns Towing LLC
P.O. BOX 64368
Lubbock, TX 79464

Revnolds and Reynolds
P.O. Box 182206
Cofumbus, OH 43218-2206

The Reinalt~Thomas Corporation
P.O. Box 29351
Phoenix, AZ 85038~9851

Advantage Supp|y
P.O. Box 471103
Fort Worth, TX 761~’:7

Auto P|us
3319 82nd St.
E_ubbocl<, TX 79423

CND Body Wor|<s
8809 Va|encla Ave.
tubbocl<, Tx 79¢124

Frontier Dodge
5801 Spur 327
Lubboc|<, TX 79424

R&D C|eaning & F|oor Service
Attn:Robert tee

7420 G|ove )'-\ve.

tubbocl<, T>< 79404

UPS
Loc|<box 577
Carol Stream, |1_ 60132

Anpl ication to Ernplov Chiet` Restructurino Officer

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Sam Pack's Five Star Ford
P.O. Box 910227
Dallas, TX 75391

Va|va|ine LLC

Attn.: Vlc Stephenson
3499 B|azer Parkway
Le)<ington, KY 40509

Alsco |nc.

Attn: lim l\/Eclntire
404 N. University
Lubboct<, TX 79415

Auto Trim & UP Flscher
Auto G|ass

6832 Wayne Ave., Suite F
Lubbock, TX 79424

Digicut Svstems
7700 E. 38th St.
Tulsa, OK 74145

Gene Messer
6161 Rothway Street
Houston, TX 77040

Scoggin Dicl<ey Buick
Gt\/tC

Dave Zwiacher

P.O. Bo>< 64910
Lubboc|<, TX 79464

West Te)<as Pal, lnc.
P.O. Box 131809
Spring, TX 77393

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A&R Piurnbing
P.O. Bo)< 3447
Amari||o, `FX 79116

Bob |-toward Parts Distribution
3501 N. Santa Fe
Oklahorna City, OK 73118

Chestersweb.€om
10300 S. Georgta
Amarilio, TX 79118

Jarnes Burgess
7814 Farrell
Amarl|lo, TX 79121

Qua|ity Vending
1000 S.E. 6th
Arnarillo, TX 79105

Windshie|ds Un|lrnited lnc.
4004 SW 34th Ave.
Amari||o, TX 79109

Bristo Battery
P.O. Bo)< 3608
Lubbock, TX 79452

Finishmaster

Attn: Danny l\/|CCarley
P.O. BOX 744316
Atlanta, GA 3037&-4316

Airgas USA, LLC
P.O. Bo)< 676015
Da||as, TX 75267-6015

CDK Globa|
P.O. Box 88921
Chicago, |L 60695-1921

Dalias Dodge Chrys|er leep
11550 LBJ va.
Da|las, TX 75238

Larnar Cornpanies
P.O. Bo)< 96030
Baton Rouge, LA 70896

Safety Kleen
P.O. Bo>< 650509
Da||as, TX 75265

Arnerican G|ass Distributors
8211 HW\/. 87
Lubbock, TX 79423

Concho Supply
4102 Sherwood Way
San Angeio, TX 76902

ngh Plains Radio Network
Attn: Chris l\/loore

P.O. Box 1478

P|ainview, TX 79073-1473

Application to Emplov Chief Restructuring Officer

 

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American Tire
Distributors

9151 S. Georgia St.
Amarlflo, TX 79118

Caproc!< N|ar|<eting LLC
P.O. Box 6447
Lubboc|<, TX 79493

Greg Lair
P.O. Box 510
Ca nyon, TX 79015

I\/Iarceila Richardson
2015 Ron Dr.
Amarillo, TX 79107

Steve Dtcl<ev
402 NE 6th
Tuiia, TX 79088

American Tire
Distributor$

9151 5. Georgia St.
Amari|io, TX 79118

Dea|ers Truck Equipment,
Co.

P.O. Box 31435
Shreveport, LA 71130

Hurrica ne Office Supp|y
& Printing

Attn: Dean Trew

1407 East F|\/| 1585
Lubbocl<, TX 79423

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Keystone Automotive
lndustries

1411 S. toop 289
Lubbocl<, T>< 79423

NTS Communications
Attn: Cyrus Driver

P.O. Bc)< 10730
Lubboc|<, TX 79408-3730

Tucky’s Auto Parts
P.O. BOX 1973
P|ainview, TX 79072

Johnson Auto G|ass
3709 Ave. Q
Lubbocl<, tx 79412

Roger Foote Lawn Care
2601 W. 17th St.
P|ainview, TX 79072

Ameripride Services, |nc.

P.O. Box 1594
Bemldjl, IV|N 56619

Custom Sound Worl<s
5131 80th St.
Lubbock, TX 79424

Safety Kieen

2600 N. Central Express
Suite 400

Richardson, TX 75080

Lesco Distributing
1628 W. Crosb\/ Rd.
Carro||ton, TX 75006

Officewlse Furnlture and Suppiy
Attn: Tornm\/ Sansorn

P.O. Bo)< 2688

Amarillo, TX 79105_2688

DealerTire, LLC
3711 Chester Ave.
C|eve|and, OH 44114

Lubboc|< Sound Equipment |nc.
P.O. Box 93366
Lubbock, TX 79493

AD|
5901 Spur 327
Lubboc|<, TX 79424

CPW Lubbocl<
4319 Hurron Ave., Suite A
Lubboc|<, TX 79407

Driveline Express
1615 Buddy Ho!ly Ave.
Lubboc!<, TX 79401

South P!ains Parts Co.
1103 5. Ra||s |-lwy.
F|o\/dada, TX 79235

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rage 20 tim

|\Aaurry Powe
1000 N |-27
P|ainvlew, TX 79072

Valvo|lne LLC
P.O. BOX 117131
At|anta, GA 30368-7131

Earl Owen Companv
1235 West Trinity I\/Illfs
Rd.

Carro||ton, TX 75006

Pear| Pro)<imity LLC
2701 fast Plano Pl<wv
Ste. 100

Plano, TX 75074

AT&T
P.O. BOX 105414
Atianta, GA 30348

C|ear Vu Auto G|ass
7415 82nd St.
Lubboc|<, TX 79424

Ho|mes Plumbing
1432 CR 242
Fioydada, TX 79235

Stephen Fyffe

c/o Michael Carper and
Robert Nel:)b

Law Offices of lvtichae|
Carper

1102 I\/lain St.
Lubbock, 'TX 79401

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Suddenhnk
1820 SSW Loop 323
Tyler, TX 75701

Michael G. Kelly

Ke|ly Morgan Dennis Corzine &
Hanson, PC

P.O. Bo>< 1311

Odessa, TX 79760-1311

|Vlark Harmon

Boerner Dennis & Frank|in,
PLLC

P.O. Box 1738

Lubbock, TX 79408

Jason Rudd

Wicl< Philiips

3131 McKinney Ave., Sutte 100
P|ano, TX 75024

t\/Iari< D. Sherri|1
Eversheds Sutherland, LLP
1001 Fanntn, Ste. 3700
Houston, T)<. 77002

Bruce Bagefrnan

Stinson, Leonard Street, LLP
3102 Oal< Law Ave., Suite 777
Da||as, TX 75219

Stephen P. Strohschein
McG|'mchey Stafford, PLLC
301 Main st., 14"‘ Fl.
Baton Rouge, LA 70801

Lauren Drawhorn

chk Phi||lps

100 Throckmorton Street
Suite 1500

Fort Worth, TX 76102

Applicaticn to Ernptov Chief Restructurin0 Ofticer

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Thornas Bvrne
Eversheds Suther|andr
LLP

999 Peachtree Street NE,
Ste. 2300

Atlanta, GA 30309

l\/Iarl< S. Carder

Stinson Leonard Street,
LLP

1201 Walnut, Suite 2900
i<ansas City, MO 64106

Stephanie Laird 'i`o|son
Nch|inchey Stafford,
PLLC

1001 tVIcKinney, Suite
1500

Houston, TX 77002

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August 8, 2018

l\/lr. Bart Reagor

Reagor~Dykes Auto Company, LP, et a|.
1215 Ave J

l_ubbock, 'l'X 79401

Re: EngagementAgreement
Dear lV|r. Reagor:

BlacKBriar Advisors LLC is pleased to have the opportunity to provide financial and operational
advisory services to serve as Chief Restructuring Officer ("CRO") to Reagor-Dyl<es Auto Company,
LP, Debtor in Possession Case No. 18-50215-rj11, Reagor-Dykes Amari|io, i_P (Case No. 18-
50216), Reagor-Dyl<es Fioydada, LP (Case No. 18~50219), Reagor-Dyl<es imports LP (Case No.
18~50215), Reagor-Dykes l\/Eotors, LP (Case No. 18-50214), and Reagor~Dyl<es Plainvievv, LP
(Case No. 18~50218) (collective|y known as "Debtors," “Reagor-Dykes," or the “Company").

SCOPE OF SERVICES

The financial advisory services (the “Services") that Blacl<Briar Advisors LLC (“B|acl<Briar") Will
perform as CRO for the Company inciude:

~ Assistance With the preparation of Chapter 11 bankruptcy schedules inciuding the
Statement of Financial Affairs and supporting schedules

~ Review/prepare cash flow forecasts and budgets to be filed with the Court;

» Preparation of scheduies and monthly operating reports to support Chapter 11
administration;

~ Conduct all investigations deemed necessary to determine any financial wrongdoing done
on the part of any present, formerl or both officers, directors and owners of the Debtors;

¢ Conduct ali investigations deemed necessary related to the lending relationship between

Ford lVlotor Credit Company and the Debtors;

Provide testimony to support Debtors in bankruptcy hearings as required;

Administer post-petition banking facilities

Secure Debtor in Possession financing, as required during the case;

Negotiate vvith existing creditors to restructure current financing agreements to support the

Company’s restructuring/reorganization pian;

Secure exit financing as required to support the Company’s reorganization, as required;

Revievv ongoing strategic initiatives and assess financial and liquidity impact;

Negotiate/Communicate With lenders creditors and stakeholders;

Direct operations with management including oversight and approval of disbursements

approval of all contracts for construction compietion and administrative services;

     

 
 

#0__

3131 NicKinney Ave., Ste 600, Da|las, TX 75204
Phone: 214.599.8600
www.btacl=<briaradvisors.ccrn

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~ l-“’reparation of bi-week|y project progress reports and review 1financiai results with
stakeholders and lenders;

¢ Such other duties as mutually agreed upon.

Services will be performed by under the direction of Robert Schieizer who will serve as CRO and
t.yndon James, Senior Partner who will support the CRO as acting Chief Financia| Officer.
BLACKBR|AR will provide additional professionals as required to support the Company during the
bankruptcy process

FEES

Services will be provided to you at the following rates:
Partners and l\/lanaging Directors $395 per hour
Senior Directors 345 per hour
Directors 295 per hour
Senior Financial Analysts 245 per hour
Financial Analysts 175 per hour
l`v'lileage Pub|ished |RS rates per mite

Actua| Reasonable and Customary l\/leals and Travel E.xpenses.

WORK PRODUCT

The Cornpany acknowledges and agrees that any written reports analyses statistics
assessments plans forecasts recommendations studies or other written work product prepared
by BLACKBR|AR pursuant to this engagement (co|iectiveiy, “Work Product”) is confidential and
proprietary and is for the Company’s exclusive use and may not be distributed or provided to,
shared With or disclosed to any other party or person, without BLACKBR|AR’B prior written
consent Furthermore, the Work Product may not be relied upon by any other party or person, for
any reason whatsoever and may not be utilized for any other purpose except for those specifically
contemplated herein Upon full payment of atl amounts due to us in connection with this
engagementl the work product embodied in the deliverab|es set out in this engagement letter will
become your sole and exclusive propertyl except as set forth below.

BLACKBR|AR and the Company acknowledge and agree that any written reports analyses
statistics assessments plans forecasts recommendations studies or other written Work product
prepared by BLACKBR|AR pursuant to this engagement (collectively, “Work Product”) is
confidential and proprietary and is for the Cornpany's exclusive use and may not be distributed or
provided to, shared with or disclosed to any other party or person, without BLACKBR|AR’s prior
written consent BLACKBR|AR further acknowledges that portions of its work product will be fiied
with the United States Trustee in connection with the pending Chapter 11 case and that any such
filings will not constitute confidential Work Product. The Work Product may not be relied upon by
any other party or person1 for any reason whatsoever and may not be utilized for any other
purpose except for those specifically contemplated herein.

GENERAL TERMS

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§?eagor»§§yttes et at §ngagernerzt agreement august 8, EG‘iS

This engagement letter and the reiationship established hereby shall be governed by all orders
approving this engagement and compensation hereunder entered in the Debtors’ bankruptcy cases
described above, the laws of the State of Texas (without regard to its conflict of laws' provisions),
and any dispute or claim arising out of or relative thereto shall be heard by the U.S. Bankruptcy
Court for the Northern District of Texas l_ubbock Division (the “Bankruptcy Court”). This
engagement letter constitutes the entire agreement between the parties and may be modified or
amended only in writing signed by both parties after proper approval from the Bankruptcy Court.

We are prepared to begin immediately lf the foregoing terms are acceptab|e, please acknowledge
below.

Very truiy yours

BtackBriar Advisors, LLC

Agreed to and accepted by:

 

By:
lts:

Date;

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BLAEKBREAR

   

 

Robert Schieizer -- Managr'ng Partner

Professionai career comprised of over thirty years of financial and operationai experience
serving private and public companies in financial and organization restructuringl crisis
management acquisitions and divestitures and equity and debt financings. industry expertise
includes retai|, real estate, construction, iogistics and transportation, manufacturing and
distribution

l-le previously served as Chief Financial Officer and Director for Pawaniart, |nc., a $50 million,
34 store specialty retail chain based in the Southeast since 2000. in addition to serving as
CFO. he was a director and had served as interim CEO, i-ie directed the safe of the company
to the industry leader for $61 miiiion in 2013.

As l\flanaging Partner of BiackBriar, his recent engagements include serving as Receiver
and Chief Restructuring Officer (CRO) for a 335 million revenue metai fabricator, CRO of a 360
miiiion aviation parts reselier. CRO directing the operational and financiai restructuring of a 535
million revenue private equity owned logistics company, directing saies marketing and
operations

Prior to co-founding BiackBriar Advisors LLC, Bob served as i\/ianaging Director for BBK, an
international financial advisory Bob was responsible for establishing the Southwest office for
BBK, as well as business development on a nationai basis Responsibiiities included
operational oversight of professionals in the southwest market as weil as engagement
execution His engagements included serving as Chief Restructuring Officer for a $50 mi|iion
revenue multi-state potato grower and processor handling complex financial issues in
bankruptcy; providing financial advisor services to a distressed lumber miii; and restructuring and
refinancing a southeastern non~profit organization

Pricr to BBK, Bob was the Restructuring Practice i_eader in the Southwest region for Tatum
LLCl where he directed distressed engagements including international companies during his
ten years with Tatum. Bob had responsibility for staffing and overseeing ciients in financial
and operational distress Bob held various interim management roles including Restructuring
Advisor for a $200i\/i private equity owned multinational appiiance manufacturer and CFO
overseeing the Wind-down and sale of a motorcycle manufacturing firm disposing of assets via
section 363 sale and public auctions

. Bob's accomplishments also inciuded:

~ Directing a successful bankruptcy reorganization and merger as CFO of a public holding
company that grew to a 34 specialty retail and finance chain in Georgia and North
Caroiina, by raising $35i\/l of debt and equity.

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q Robert Schieizer - liftenaging Part‘ner, BiackBriar Advisors LLC (confinued')

 

» Directing a financial and operational restructuring resulting in a return to profitable
operations after consecutive annual losses as CFO of a $50i\/i, privately-held family
business speciaiizing in transportation of bulk petroieurn products

Bob’s previous professional experience includes extensive reai estate leasing1 management
and development Vice President and CFO of a development~stage firm with proprietary video
technology; COO and CFO of a regional trucking company; Owner ct a crisis management firm
providing financiai consulting ieasing, development renovation and real estate management
expertise

Education and Certifications
- Bachelor of Science in Accounting, Arizona State University
v Certified insolvency Restructuring Advisor (CiRA)
o Certified Turnaround Professionai

Affiiiations and Niemberships
~ American Bankruptcy institute
Turnaround l\/|anagement Association - Chairrnan ~ National Finance Committee
State Bar of Texas - Bankruptcy Section (non-iaw section)
Association of insolvency & Restructuring Advisors
Nationa| Association of Corporate Directors

Contactinformation:

Office: 214.483.1261

Ceii: 214.882.8300

Fax: 214.483.1271

Email: bschleizer@biackbriaradvisorscom

Office Address: 3131 lVchinney Ave., Suite 800
Dal|as TX 75204

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L_AEKBRrAR

   

 

D. t_yrtdon James - Founo'r`ng Partner

tyndon is a financial and operational professional with over thirty years of executive leadership
positions in diversified industries Lyndon has extensive energyl mining, manufacturing retail,
distributionl and insurance experience

Prior to co~founding B|ackBriar Advisors LL.C, Lyndon was a Senior Director at BBK, Ltd., an
international financial advisory firm. He led the energy sector practice for the firm, developing
extensive relationships in the exploration and production, refining and petrochemicals and
services sectors of the market Prior to joining BBK, i_yndon Was a Partner of Tatum. LLC in
Da||as where he led many successful engagements as CEO and CFO.

Recent engagements inciude:

o Serving as Financia| Advisor to a project team developing and enhancing internat
controls and revenue procedures and processes to facilitate the refinancing of a $13
million credit facility for an international 380 million revenue private equity owned oil field
services enterprise;

o Serving as CFO and Financiai Advisor to a financial troubled 345 million commercial
eiectricai parts distributor. During his tenure, he directed a restructuring of the finance
department negotiated the exit of the CEO, negotiated extensions cfa 312 million credit
facility multiple times during the restructuring led the company through an ERP system
installation and directed a sale process that netted the owner nearly 3X his investment
as a result of the turnaround.

o Serving as CEO for an oil field service company and orchestrating the sale of the
company to a private party to resolve operational and financial issues

¢ Serving as expert witness in 5 separate lawsuits involving accounting and management
issues related to oil and gas investment schemes including the development of expert
reports and testifying in federal and state courts

, o Serving as restructuring advisor for an oil and gas E&P company directing the sale of the
firm’s assets to a private equity firm through a Chapter11, section 363 sale process

o Serving as interim CFO for a start-up E&P company including completion of a $4 million
debt agreement and initiating the natural gas hedging program

o l_eading an oilfieid service company, through Chapter 11 bankruptcy as CEO. i-ie
marketed the company to potential buyers and coordinated the buyout of the debt and
equity by a private equity firm. Also, negotiated and sold the company’s safety business
to an outside buyer and led the integration of the merged companies

» Directing the turnaround of a publicly traded petroleum products distributor created by a
reverse merger as interim CFO. l-ie renegotiated and increased the working capital
revolving facility after a covenant default; and provided financial leadership to restructure
the operations and close down the unprofitable operations

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q Lyndori denies ~ Parrner, BIackBriar Advisors LLC (conrinued)

 

o Serving as interim CFO for a $200 miliion, 70 store retail chain He managed the
company’s financial functions thru an extended capital restructuring which inciuded
numerous asset sales and a bank debt refinancing.

v Servlng as interim CFO for a 340 million aircraft parts distributor. He managed the
financial function during a distressed business sale that aliowed the business owners to
retain an ownership stake in the new business and maintain senior management
positions

v Serving as CFO of the 8“1 largest oil refinery in the U.S., secured a $450 million
construction loan through a syndication of 20 UiS. and international banks and $70
million working capital revolving credit facility for general corporate purposes which
helped the company complete a $1.2 billion refinery upgrade project

As \/ice President and Chief Financiai Officer of insurance Team One Services lnc., i_yndon
developed the initial business plan for the startup and was responsible for the development of
the community bank insurance agency program

Lyndon was Senior Vice President and Chief Financial Officer for the i-ienry Groupl lnc. a
privately owned manufacturing and installation Company servicing the food industryl where he
led a mergers and acquisition program and managed finance, accountingl information
technology and human resource functions

Lyndon also held executive accounting and finance positions for ARCO Oil and Gas Company,
a $20 billion oil and gas expioration and production company; as weil as ARCO Coal Company,
one of the largest and most profitable international coal mining companies in the Wor|d.

Education and Certifications:
» l\/laster of Science in i`v'ianagement and Administrative Sciences, University of Texas,
Dallas
» Bache|or of Business Administration in r\ccountingl University of Texas, Ariington
~ Certified Pub|ic Accountantl State of Texas
¢ Registered Financial Gerontologist

Affi|iations and Memberships:

» iViember - Energy i_eadership Group
~ Dal|as Petroieum Ciub

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Ceii: 469.450.3009

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Office Address: 3131 i\r'chinney Ave., Suite 600
Daiias, TX 75204

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DECLARATION OF ROBERT {BOBl SCHLEIZER IN lSU.P-PORT OF THE
DEBTORS*’-IN-POSSESSION ENIERGENCY J.OINT APPLICATION
TO EMPLOY CHIEF RESTRUCTURING OFFICER

I, Robert Schieizer, state and declare`:

l. That he is a resident of Dallas, Dailas County, Texas, that he is over 21 years of
age and is of sound mind and has never been convicted of an offensc; that he is the
managing partner of BlackBriar Advisors LLC, in Dal_ia's C'oun`ty, Texas, is a Certified
Tumaround Prof`essional (“CTP”) and Certif`ed insolvency Restructuring Advisor
(“CIRA”), and possesses all of the qualifications to provide financial and operational
advisory services to serve as Chief Restructuring Officer (“CRO”) for the Debtors

2. That he has read the Debtors’ Emergency .ioint A_pplication To Employ Chief
Restructuring Officer ln connection with the Chapter ll bankruptcy proceedings of` the
Debtors Tha`t he has extensive knowledge and experience in providing financial and
operational advisory Services to serve as Chict` Restructuring Officer (“CRO”) and` ls in
all respects qualified to render the necessary services requested by the Debtors

3. That BlackBriar Advisors LLC, ls disinterested and has no connection with any of
the creditors of the estate, or any party of` interest their respective attorneys and
accountants the U. S. Trustee or any person employed in the office of the U .S. Trustee,

other than as disclosed m paragraph 4

4. BiaokBriar Advisors LLC and some affiliated entities have been represented in
the past by Keith Langiey, counsel f`or Ford Motor Credit Cempany. At this time there
are not any open matters in Which M'r. Langley is actively representing BlackBriar
Advisors LLC. Further, l\/lr. Langley currently acts as the registered agent of Blac`kBriar
Advisors LLC.

5. I declare under penalty of` perjury that the foregoing is true and correct to the best
of`my knowledge. l

Dated: August 8, 2018

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Robert Schieizer

 

